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                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA

       Plaintiff,
vs.                                                         Case No.: 2:23-cr-20191-MSN


EMMITT MARTIN, III,
TADARRIUS BEAN, DEMETRIUS
HALEY, DESMOND MILLS, JR.,
AND JUSTIN SMITH

       Defendant.

DEFENDANT, TADARRIUS BEAN’S, REPLY TO THE GOVERNMENT’S RESPONSE
   IN OPPOSITION TO DEFNEDANT BEAN’S MOTION FOR JUDGEMENT OF
                           ACQUITAL


       COMES NOW Defendant Tadarrius Bean, by and through counsel filing this reply to the

Government’s Response in Opposition [ECF No.: 682] to Defendant Bean’s Motion for

Judgment of Acquittal [ECF No.: 661], and in support of the same would state and show until the

Court as follows:

                                       INTRODUCTION

       As the Government has done throughout this entire case, the Government completely

misstates facts and evidence that was decided by the jury in this matter. The Government’s

response practically ignores the determinations made by the jury, and instead attempts to re-

argue facts that not only did the Government failed to prove but were refuted by the evidence

presented at trial and unanimously rejected by the jury. As explained below, fairness and duty to

prevent a miscarriage of justice unequivocally leads to only one conclusion that the evidence is
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insufficient to find Defendant Bean guilty of Count Four (4): Obstruction of Justice, warranting

an acquittal of the charge.

                                            ARGUMENT

        Viewing the evidence in the light most favorable to the Government, the Court must

determine if is sufficient to the level that a rational trier of fact could find that all elements of the

crime are met beyond a reasonable doubt. Jackson v. Virgina, 443 U.S. 307, 319 (1979). Despite

the Government ignoring the jury, the following is undisputed: Defendant Bean was found not

guilty of Count One (1) and Count Two (2), along with its lesser-included offense; and not

guilty of Count Three (3). Because Defendant Bean was found not guilty of Count One through

Count Three, logically and legally he must be not guilty of Count Four.

        Per the jury instructions given by the Court to the jury, to find Defendant Bean guilty of

Counts One and Two, the Government had to prove that Defendant Bean either willfully, while

acting under color of law deprived Tyre Nichols of his right to be free from unreasonable force

and that such deprivation resulted in death or bodily injury or that Defendant Bean knowingly

failed to prevent another officer from using unreasonable force. This issue was unanimously

decided by the jury that Defendant Bean did not use unreasonable force. By its verdict, the jury

also decided that Defendant Bean did not observe unreasonable force and knowingly failed to

intervene by preventing another officer from using unreasonable force. The jury also resolved

that Defendant Bean did not aid or abet any other individual in using unreasonable force.

        Likewise, as given in the Court’s jury instruction for Count Two, to find Defendant Bean

guilty, the Government had to show that Defendant Bean knew that Mr. Nichols had an

objectively serious medical need that, when unaddressed, exposed to him to substantial risk of

serious harm, and that Defendant Bean disregarded that need by failing to take reasonable
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measures to address that need. The jury also unanimously found Defendant Bean not guilty of

Count Two: Deliberate Indifference.

       Finally, as given by the Court in its instruction to the jury, to find Defendant Bean guilty

of Count Three, the Government had to prove that Defendant Bean knowingly and voluntarily

conspired with at least one other person to intentionally withhold and omit material information

and knowingly make false and misleading statements to cover up the use of unreasonable force

on Mr. Nichols. Despite the Government’s complete mischaracterization of evidence in its

response, what the Government cannot dispute is that the jury unanimously decided that

Defendant Bean did not knowingly or voluntarily conspire to intentionally withhold and omit

material evidence and knowingly make false and misleading statements to investigators to cover

up the use of unreasonable force.

   When examining the same evidence, or lack thereof, that rendered Defendant Bean not guilty

of Counts One, Two, and Three, it is logically and legally insufficient under these charges to

convict Defendant Bean on Count Four: Obstruction of Justice, even with all evidence viewed

most favorable to the Government. To find Defendant Bean guilty of obstruction of justice, the

Government had to prove beyond a reasonable doubt that Defendant either knowingly corruptly

persuaded, attempted to corruptly persuade, or engaged in misleading conduct to Lt. DeWayne

Smith or Detective Valandria McKinnie, with the intent to hinder, delay, or prevent the

communication of information to a law enforcement officer of the United States or a judge of the

United States and that such information was related to the commission or possible commission of

a federal offense. The Court also instructed the jury of five (5) ways in which Defendant Bean

could be found guilty. Because Defendant Bean did not use unreasonable force that either

resulted in death or bodily injury, he could not know information related to the commission or
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possible commission of a federal offense. Because he did not aid or abet another officer in using

unreasonable force that either resulted in death or bodily injury, he could not know information

related to the commission or possible commission of a federal offense. Additionally, the evidence

was insufficient to prove that Defendant Bean observed unreasonable force. Therefore, if he did

not observe any use of unreasonable force, the evidence is also insufficient to prove that he

knowingly failed to intervene and prevent the use of unreasonable force. If the evidence was

insufficient to prove those elements, then it is only logical that Defendant Bean lacked

information related to the commission or possible commission of a federal offense, where the

evidence was already insufficient to show he was aware of use of unreasonable force, being a

federal offense. The evidence was also insufficient to prove that Defendant Bean was aware of

and knowingly participated in a conspiracy to obstruct justice. Therefore, if the evidence was

insufficient to show that he knowingly participated in a conspiracy to withhold and omit material

evidence, the same evidence must also be insufficient to prove that he had information related to

the commission or possible commission of the federal offense of conspiracy. For these reasons

alone, the evidence is insufficient to support the third element of Count Four: Obstruction of

Justice as provided in the Court’s instructions to the jury. However, despite the Government’s

insistence in its response, evidence in the record also disproves other elements of Count Four.

   First, it is undisputed that there was no evidence to show that Defendant Bean corruptly

persuaded or attempted to corruptly persuade Lt. Smith in any fashion. Secondly, in its response,

the Government insists that Defendant Bean withheld information from Lt. Smith by failing to

report to Lt. Smith that “Officer Martin struck Tyre Nichols in the head and that Martin and

defendant Haley kicked Nichols.” [ECF No.: 682]. In making this argument, the Government

completely ignores not only the jury’s unanimous verdict as it relates to the duty to intervene, but
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also ignores the very policy it references in its argument. Under the policy as the Government

theorizes, Defendant would only have a duty to report misconduct or use of force that was

excessive. If Defendant Bean did not observe unreasonable force, he has no duty to report the

information to Lt. Smith. Because he did not observe any unreasonable force, as determined by

the jury, Defendant Bean could not have possibly engaged in any misleading conduct towards Lt.

Smith during the course of the investigation. Furthermore, at no point in his testimony did Lt.

Smith state that he received any information from Defendant Bean. In fact, Lt. Smith testified

that upon arriving to the scene at Castlegate, he only spoke with the team in a group, never

talking to either member of the team individually. He further testified that Defendant Bean was at

the hospital with Mr. Nichols at the time other members of the team were at the station giving

their statements. Lt. Smith never directed any specific questions to Defendant Bean, giving him

no opportunity to even give misleading information or omit material information.

   The evidence was also insufficient to show that Defendant Bean withheld information or

knowingly provided false information to Detective McKinnie. Firstly, and most obviously,

contrary to Detective McKinnie’s testimony, the time stamps on her incident report show that

Defendant Bean was not even remotely near the station at 51 S Flicker when the other officers

were giving their statements to Detective McKinnie, nor had he arrived by the time the report

had been completed. Secondly, Detective McKinnie was tasked with writing the incident report

for the charge of aggravated assault against Tyre Nichols, with Emmitt Martin being the victim.

This incident report was based on facts that took place on the first scene at Ross and Raines.

Defendant Bean could not possibly have given Detective McKinnie information regarding any

facts from that scene because he was never present on that scene. Rather, Detective McKinnie’s

statements reveal that she received the information in her report from Officers Martin and Haley.
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Additionally, during her entire testimony at trial, Detective McKinnie was not able to point to

any specific information that was offered to her by Defendant Bean or omitted by Defendant

Bean. In fact, Detective McKinnie, according to her testimony, only asked Defendant Bean one

opened ended question, “did he have any involvement with Mr. Nichols.” Detective McKinnie

never asked Defendant Bean any additional questions by which he gave false or misleading

information. Furthermore, because he did not observe any unreasonable force, Defendant Bean

could not have omitted material information where he did not know that there was material

information related to the commission or possible commission of a federal offense.

    Finally, the Government argues that Defendant Bean offered false and misleading

information in his Blue Team/ Response to Resistance Report. This argument falls flat on its face

and is completely contrary to the testimony of the Government’s own witnesses and the reports

themselves. Each officer involved with the arrest of Tyre Nichols prepared their own individual

Response to Resistance Report. Just as the other officers did in their report, Defendant Bean

described only his actions without making any reference to any other officer’s actions on that

night. Practically every MPD officer or former officer witness, including Lt. Smith, testified that

the Blue Team/ Response to Resistance Report was written to document only the drafting

officer’s use of force. This was corroborated by Emmitt Martin, Officer Kyle Coudriet, Officer

Harvey, and Desmond Mills. Therefore, the is insufficient evidence to show that Defendant Bean

knowing omitted information from his Response to Resistance Report when his training and

common department practices taught him to only describe his actions in the report, and not those

of all officers involved.

                                         CONCLUSION
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    For these reasons, Defendant Bean requests this Court set aside the jury’s guilty verdict and

enter an acquittal as it relates to Count Four of the indictment. While the Government chooses to

dispute and outright ignore the facts the jury unanimously decided, those same facts make it

unequivocal that if the evidence was insufficient to convict Defendant Bean of Counts One, Two,

and Three, that same evidence must be insufficient to convict Defendant Bean of Count Four.

Therefore, in the interest of fairness and fulfilling its duty to prevent a miscarriage of justice, this

Court must step in and enter an acquittal to Count Four in favor of Defendant Tadarrius Bean.

Defendant Tadarrius Bean respectfully requests that a hearing be held on this matter prior to the

Court ruling in this case.

                                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I, John Keith Perry, certify that I have filed a true and correct copy of the above and

foregoing with the Clerk of the Court using the ECF system which sent notification of such filing

to all counsel of record:


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This the 31st day of October 2024.
                                                      /s/ John Keith Perry, Jr.________
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